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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: 3M COMBAT ARMS EARPLUG
PRODUCTS LIABILITY LITIGATION                                                            MDL No. 2885



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −54)



On April 3, 2019, the Panel transferred 8 civil action(s) to the United States District Court for the
Northern District of Florida for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 366 F.Supp.3d 1368 (J.P.M.L. 2019). Since that time, 1,127 additional action(s)
have been transferred to the Northern District of Florida. With the consent of that court, all such
actions have been assigned to the Honorable M. Casey Rodgers.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Florida and assigned to
Judge Rodgers.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Florida for the reasons stated in the order of April 3, 2019, and, with the consent
of that court, assigned to the Honorable M. Casey Rodgers.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Florida. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:



                                                       John W. Nichols
                                                       Clerk of the Panel
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IN RE: 3M COMBAT ARMS EARPLUG
PRODUCTS LIABILITY LITIGATION                                        MDL No. 2885



                   SCHEDULE CTO−54 − TAG−ALONG ACTIONS



 DIST       DIV.     C.A.NO.      CASE CAPTION


MINNESOTA

  MN         0       20−00231     Bun v. 3M Company et al
  MN         0       20−00232     Coleman v. 3M Company et al
  MN         0       20−00235     Dixon v. 3M Company et al
  MN         0       20−00242     Gonzalez v. 3M Company et al
  MN         0       20−00244     Greer v. 3M Company et al
  MN         0       20−00245     Hall v. 3M Company et al
  MN         0       20−00255     Johnson v. 3M Company et al
  MN         0       20−00256     Jordan v. 3M Company et al
  MN         0       20−00257     Knoble v. 3M Company et al
  MN         0       20−00258     Lee v. 3M Company et al
  MN         0       20−00259     Lopez v. 3M Company et al
  MN         0       20−00260     Bagirov v. 3M Company et al
  MN         0       20−00262     Robins v. 3M Company et al
  MN         0       20−00263     Banks v. 3M Company et al
  MN         0       20−00266     Clauson v. 3M Company et al
  MN         0       20−00273     Dowding v. 3M Company et al
  MN         0       20−00280     Jirousek v. 3M Company et al
